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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                          *             CRIMINAL ACTION
                                                  *
VERSUS                                            *             NO. 15-100
                                                  *
WALTER REED                                       *             SECTION "L"

                                          ORDER


           The Court has received the following communication from Richard Simmons, Jr.,

counsel for Defendant. Accordingly,

           IT IS ORDERED the letter be filed into the record.

           IT IS FURTHER ORDERED that the attachments to this letter be filed into the

record under seal.



       New Orleans, Louisiana, this 21st day of August 2020.


                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
